                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:10-00262
                                                      )       Judge Trauger
ROBERT KERRY PICKLE,                                  )
DANIEL HUDGINS, and                                   )
CHRISTOPHER SHANE NICHOLS                             )

                                            ORDER

        Defendant Pickle’s Motion to Sever (Docket No. 102), which is not opposed by the

government (Docket No. 108), is GRANTED. Defendant Pickle is hereby SEVERED for trial

from the other two defendants in this case. The trial of defendants Hudgins and Nichols remains

set on June 21, 2011. By separate order, the trial of defendant Pickle is being reset for July 5,

2011.

        It is so ORDERED.

        ENTER this 29th day of April 2011.



                                                      ________________________________
                                                            ALETA A. TRAUGER
                                                              U.S. District Judge




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